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083061.0347(207)                          RMC:lab                                      #397

                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

STATE AUTOMOBILE MUTUAL                            )
INSURANCE COMPANY,                                 )
                                                   )
                             Plaintiff,            )        No. 21-cv-4500
                                                   )
                       v.                          )        Chief Judge Rebecca R. Pallmeyer
                                                   )        Mag. Judge Jeffrey Cole
WILDBERRY PANCAKES & CAFÉ III,                     )
Inc., an Illinois corporation, DAISY               )
GABRIEL, JASMINE SAADEH, JADE                      )
VALLEJO, and JIHAD ABDALLAH,                       )
                                                   )
                             Defendants.           )


                                          ORDER

       This cause coming on to be heard on motion of the Plaintiff, due notice having

been given, and the Court being fully advised in the premises;

       IT IS HEREBY ORDERED that pursuant to the Motion of Plaintiff State

Automobile Mutual Insurance Company the Order of December 15, 2021 (Doc. 24) is

amended to reflect that the case is dismissed without prejudice, as moot, with each party

to bear its own costs, and that the action is terminated.




                                                       REBECCA R. PALLMEYER
                                                        United States District Judge
